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     RACHELE R. BYRD (SBN 190634)
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10
                                   UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12

13   ELAINE WANG,                                    )   Case No. 3:20-cv-07342-EMC
                                                     )
14                  Plaintiff,                       )   NOTICE OF VOLUNTARY DISMISSAL
                                                     )
15                                                   )
     v.                                              )
16                                                   )
     MYOKARDIA, INC., SUNIL AGARWAL,                 )
17   M.D., MARY CRANSTON, TASSOS                     )
     GIANAKAKOS, DAVID MEEKER, M.D.,                 )
18   MARK PERRY, KIM POPOVITS, AND                   )   JUDGE:      Hon. Edward M. Chen
     WENDY YARNO,                                    )   CTRM:       4 – 3rd Floor
19                                                   )
                                                     )
20                             Defendants.           )
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                                                                  NOTICE OF VOLUNTARY DISMISSAL
                                                                          Case No. 3:20-cv-07342-EMC
 1             PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure, rule
 2   41(a)(1)(A)(i), plaintiff Elaine Wang (“Plaintiff”) hereby voluntarily dismisses the above-captioned
 3   action (the “Action”) with prejudice. Defendants have filed neither an answer nor a motion for
 4   summary judgment. Plaintiff’s dismissal of the Action is therefore effective upon the filing of this
 5   notice.
 6
 7   DATED: November 30, 2020                               WOLF HALDENSTEIN ADLER
                                                             FREEMAN & HERZ LLP
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 9                                                          By:   /s/ Rachele R. Byrd
                                                                   RACHELE R. BYRD
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                                                            BETSY C. MANIFOLD
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                                                            Counsel for Plaintiff
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     Dated: 11/30/2020                       N                         C
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                                                                           NOTICE OF VOLUNTARY DISMISSAL
                                                                                   Case No. 3:20-cv-07342-EMC
